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                   UNITED STATES BANKRUPTCY COURT
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


 IN RE:                                         CASE NO. 22-56501-jwc

 CUREPOINT, LLC                                 JUDGE CAVENDER

 Debtor.                                        CHAPTER 11

                            NOTICE OF APPEARANCE


      JOHN G. McCULLOUGH, Esquire, hereby submits his Notice of
 Appearance to this Court in the above action as counsel of record for the NEWTEK
 SMALL BUSINESS FINANCE, LLC (“NSBF”).

        NSBF requests that all notices given or required to be given in this case and
 any cases consolidated herewith, and all papers served or required to be served in
 this case, and any cases consolidated herewith, be given to and served upon:

 John G. McCullough
 Aldridge Pite, LLP
 3575 Piedmont Road, NE, Suite 500
 Atlanta, Georgia 30305
 Telephone: 404-994-7276 (Direct)
 jmccullough@aldridgepite.com

        Take further notice that this notice is not a submission to the jurisdiction of
 this Court and that neither this notice nor any later appearance, pleading, claim or
 suit shall waive (i) the right to have final orders in non-core matters entered only
 after de novo review by a United States District Court; (ii) the right to a trial by
 jury in any proceeding so triable in this case; (iii) the right to have the United
 States District Court withdraw the reference in any matter subject to mandatory or
 discretionary withdrawal; or (iv) any other rights, claims, actions, defensed,
 setoffs, or recoupments to which is or may be entitled under agreements, in law or
 in equity, all of which rights, claims, actions, defenses, setoffs, and recoupments
 are expressly reserved.


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      Submitted this 18th day of October, 2022.


                                             /s/ John G. McCullough
                                             JOHN G. McCULLOUGH
                                             Georgia Bar Number: 487025
 John G. McCullough
 Aldridge Pite, LLP
 3575 Piedmont Road, NE, Suite 500
 Atlanta, Georgia 30305
 Telephone: 404-994-7276 (Direct)
 jmccullough@aldridgepite.com
 AP File No. 1853-019A




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                          CERTIFICATE OF SERVICE

 CERTIFY: This is to certify that I have this day served a true and correct copy of
 the within NOTICE OF APPEARANCE filed in this case via electronic notice to
 parties, and their representatives, who are ECF Filers and Consent Users or by
 depositing a copy of same in the United States Mail, postage prepaid, all other
 interested parties addressed as follows:

 I certif. under Penalty of Perjury That the Foregoing is True and Correct.


 Executed on October 18, 2022.                By: /s/ John G. McCullough




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